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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

 IN THE MATTER OF THE PETITION

              of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,                                       Docket No. JKB 24-cv-941

              and
                                                                  IN ADMIRALTY
 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,

 for Exoneration from or Limitation of Liability.




            STIPULATION EXTENDING THE TIME FOR CERTAIN CARGO
                INTERESTS TO FILE CLAIMS IN THIS PROCEEDING


        WHEREAS W. E. COX CLAIMS GROUP (USA) LLC and W K WEBSTER & CO.

LTD, as agents and trustees acting on behalf of various Cargo Interests moved the Court on

September 23, 2024, for an Order extending the date by which a certain class of interests,

specifically those parties with ownership, title and/or insurable interests in containerized cargoes

carried on board the M/V DALI (“the Vessel”) when the Vessel departed her berth at the Seagirt

marine terminal on or about March 26, 2024, to submit claims in response to the Petition for

Exoneration from and/or Limitation of Liability of Petitioners (“the Motion”);

        WHEREAS the Court issued an Order on September 23, 2024, granting the Motion in

part, and denying the Motion in part, and setting down the matter for a hearing on October 1,

2024;




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        WHEREAS the Court heard argument on the Motion on October 1, 2024, and issued

certain directions to the Parties;

        IT I SHEREBY STIPULATED AND AGREED among the undersigned counsel that

the Motion is resolved on consent as follows:

        1.      The Motion and this Stipulation pertain to claims and/or potential claims that are

being or may be submitted on behalf of Certain Cargo Interests set out in Schedule A attached

hereto, including empty container “shells” insured by certain of the Cargo Interests;

        2.      For those cargoes and empty container shells about which Cargo Interests

currently have sufficient information of the nature of their damaged condition to file claims for

physical loss or damage as a consequence of the Casualty described in the Limitation Petition in

this matter, Counsel for Cargo Interests will file an Answer to the Limitation Petition with any

counterclaims on or before October 9, 2024;

        3.      Cargo Interests must file an Answer to the Limitation Petition with any

counterclaims for any remaining cargoes or empty container shells listed in the Appendices

hereto on or before November 22, 2024;

        4.      The Cargo Interests set out in Schedule A will be bound by all Court orders—

including dates and deadlines—issued from the inception of this case, and any objections to any

prior activity in this case are deemed waived, notwithstanding that said Cargo Interests may not

yet formally be party to this Limitation Proceeding;

        5.      The Cargo Interests set out in Schedule A will be bound by all discovery

undertaken in this case is if they had answered the Limitation Petition on or before September

24, 2024, and none of said Cargo Interests will be heard to object to any discovery sought or



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conducted on the basis that such discovery was sought or conducted prior to their filing an

answer to the Limitation Petition.

       6.      The Parties reserve all other rights, defense, and remedies arising from or as a

consequence of the Casualty described in the Limitation Petition, and this Stipulation is without

prejudice to all such rights not specifically addressed herein.

       Respectfully submitted this 9th day of October, 2024.

 BLANK ROME LLP                                       SKEEN & KAUFFMAN, LLP

 /s/ Thomas H. Belknap, Jr.                           /s/ Terry L. Goddard Jr.
 Thomas H. Belknap, Jr. (pro hac vice)                James D. Skeen (00010)
 1271 Avenue of the Americas                          Terry L. Goddard Jr. (15460)
 New York, New York 10020                             9256 Bendix Road, Suite 102
 (212) 885-5270                                       Columbia, MD 21045
 Thomas.belknap@blankrome.com                         T: (410) 625-2272
                                                      F: (443) 817-0744
 William R. Bennett (pro hac vice)                    jskeen@skaufflaw.com
 William.bennett@blankrome.com                        tgoddard@skaufflaw.com
 Kierstan Carlson (pro hac vice)
 Kierstan.carlson@blankrome.com                       HILL RIVKINS LLP
                                                      John J. Sullivan (pro hac vice)
 DUANE MORRIS LLP                                     45 Broadway, Suite 2110
 1201 Wills Street, Suite 330                         New York, NY 10006
 Baltimore, MD 20231                                  jsullivan@hillrivkins.com
 Robert B. Hopkins
 (410) 949-2937                                       Counsel for Certain Cargo Interests
 rbhopkins@duanemorris.com
 Laurie Furshman
 lgfurshman@duanemorris.com

 Counsel for Petitioners




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                                      Certificate of Service

         I hereby certify that on the 9th day of October, 2024, I uploaded the foregoing and any
attachments/exhibits to the Court’s CM/ECF system for filing and service on all interested
parties.

                                                     /s/ Terry L. Goddard Jr.
                                                     Terry L. Goddard Jr.




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